                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :         CRIMINAL ACTION
                                               :
       v.                                      :
                                               :
MATTHEW GABRIEL                                :         NO. 24-84

                                          ORDER

       NOW, this 17th day of September, 2024, it is ORDERED that defendant is released

on bail with the following conditions:

       1.      Unsecured bond in the amount of $25,000.00.

       2.      Defendant shall report to Pretrial Services as directed by Pretrial Services.

       3.      Defendant shall surrender and/or refrain from obtaining a passport.

       4.      Travel is restricted to the continental United States.

       5.      Defendant shall surrender and/or refrain from obtaining any firearms. Any

other firearms in any premises where the defendant resides while on pretrial release must

be removed from the premises and no firearms are to be brought into the premises during

this period.

       6.      The defendant shall execute a completed Prohibition on Firearms

Agreement.

                                                            /s/ Timothy J. Savage
                                                         TIMOTHY J. SAVAGE, J.
